U.S. DIST COURT
UNITED STATES DISTRICT COURT a igh UST. OF L
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MIDDLE DISTRICT OF LOUISIANA 9g SEP 17 T.
DERRICK CURRY : CIVIL ACTION SER HEHD J YARTIN
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NUMBER 95-0481-M2
VERSUS
MAGISTRATE JUDGE NOLAND
JIMMY SMITH, ET AL. : BY CONSENT

SUPPLEMENTAL LOCATION INFORMATION
FOR SGT. RICHARD LOGAN
FILED UNDER SEAL IN COMPLIANCE WITH
COURT ORDER OF 3 AUGUST 1998

NOW INTO COURT, through undersigned counsel come defendants, who
in supplemental compliance with this Court’s Order of 3 August 1998 (docket no. 54),
respectfully file additional location information for Sgt. Richard Logan under seal.
Respectfully submitted,

RICHARD P. IEYOUB
ATTORNEY GENERAL

ASSISTANY ATTORNEY GENBRAL
BAR ROLL # 17509

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LOUISIANA DEPARTMENT OF JUSTICE
LITIGATION DIVISION

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CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served upon counsel for all
represented parties and has been served upon all pro se parties to this proceeding by

mailing the same to each by first class United States mail, properly addressed and postage

prepaid on this | 7E day of Belk “nffC _, 1998. -

